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                                     #:23459



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13                                    United States District Court
14
                           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16
        JENNY LISETTE FLORES, et al.,              )   Case No. CV 85-4544 DMG (AGRx) 
17                                                 )
                 Plaintiffs,                       )   [PROPOSED] ORDER CONTINUING DUE
18      - vs -                                     )   DATE OF PARTIES’ SUBMISSIONS RE
19                                                 )   APPOINTMENT OF A SPECIAL
        JEFFERSON B. SESSIONS, ATTORNEY            )   MASTER/INDEPENDENT MONITOR
20      GENERAL, U.S. DEPARTMENT OF                )
21      JUSTICE, et al.,                           )   Hearing: N/A
                                                   )
22               Defendants.                       )
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                                     #:23460


1       Plaintiffs’ counsel, continued
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1             The parties have stipulated to a continuance of the submission date for the
2
        Parties’ position(s) regarding the appointment of a Special Master/Independent
3
        Monitor and Defendants’ filing responding to Plaintiffs’ declarations ordered to be
4

5       filed on August 10, 2018. See Minute Order [Docket # 469].
6
              UPON CONSIDERATION of the Parties’ Stipulation and for the reasons set
7
        forth therein, the Court hereby ORDERS that the Parties shall file their submission(s)
8
9       regarding the appointment of a Special Master/Independent Monitor, and Defendants
10
        shall file their response to Plaintiffs’ declarations, on or before August 17, 2018.
11

12            IT IS SO ORDERED.
13

14      Dated: August __, 2018
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                                                ______________________________
16                                              THE HONORABLE DOLLY M. GEE
17                                              UNITED STATES DISTRICT JUDGE

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     Case 2:85-cv-04544-DMG-AGR Document 471-1 Filed 08/09/18 Page 4 of 4 Page ID
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2
                                        CERTIFICATE OF SERVICE
3
              I, Peter Schey, declare and say as follows:
4

5             I am over the age of eighteen years of age and am a party to this action. I am
6
        employed in the County of Los Angeles, State of California. My business address is
7

8
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  

9             On August 9, 2018, I electronically filed the following document(s):
10
              •    [PROPOSED] ORDER CONTINUING DUE DATE OF PARTIES’ SUBMISSION RE
11
              APPOINTMENT OF A SPECIAL MASTER/INDEPENDENT MONITOR
12

13      with the United States District Court, Central District of California by using the
14      CM/ECF system. Participants in the case who are registered CM/ECF users will be
15
        served by the CM/ECF system.
16

17                                                   /s/Peter Schey
18                                                   Attorney for Plaintiffs
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